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                               IN THE UNITED STATES DISTRICT COURT
14
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
15   __________________________________________
                                                )
16
     TWITTER, INC.,                             ) Case No. 14-cv-4480-YGR
17                                              )
           Plaintiff,                           )
18                                              )
                           v.                   )
19
                                                )
20   WILLIAM P. BARR, Attorney                  ) ERRATA TO DEFENDANTS’
     General of the United States, et al.,      ) OPPOSITION TO PLAINTIFF’S
21                                              ) MOTION CHALLENGING
22         Defendants.                          ) DEFENDANTS’ PRIVILEGE
                                                ) DESIGNATIONS
23                                              )
     __________________________________________)  Hon. Yvonne Gonzalez Rogers
24
25
26           Defendants respectfully submit this errata to their Opposition to Plaintiff’s Motion
27   Challenging Defendants’ Privilege Designations, ECF No. 278 (Defendants’ Opposition). After
28   the submission of Defendants’ Opposition, counsel for Defendants discovered that the proposed
     Twitter, Inc. v. Barr, et al., Case No. 14-cv-4480-YGR                                    1
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     Motion Challenging Defendants’ Privilege Designations
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 1   order that was to accompany Defendants’ Opposition had been inadvertently omitted from the
 2   filing. Additionally, due to technical difficulties, undersigned counsel was not able to create the
 3   table of contents and table of authorities for Defendants’ Opposition prior to the filing of that
 4   submission on Friday, March 1, 2019. Accordingly, Defendants respectfully submit herewith the
 5   proposed order, table of contents, and table of authorities for the Defendants’ Opposition. See
 6   Appendix 1. Defendants apologize for any inconvenience that the absence of these materials
 7   caused to the Court or to Plaintiff.
 8
 9   Dated: March 5, 2019                               Respectfully submitted,
10
11
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12                                                      Assistant Attorney General
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                                                        DAVID L. ANDERSON
14                                                      United States Attorney

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17                                                             /s/ Julia A. Heiman
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     Twitter, Inc. v. Barr, et al., Case No. 14-cv-4480-YGR                                       2
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             Appendix 1
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14                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
15   __________________________________________
                                                )
16   TWITTER, INC.,                             ) Case No. 14-cv-4480
                                                )
17         Plaintiff,                           )
18                                              )
                                                )
19                      v.                      )
                                                )
20
     WILLIAM P. BARR, United States            )
21         Attorney General, et al.,            )
                                                )
22         Defendants.                          )
                                                ) [PROPOSED] ORDER
23
     __________________________________________)
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     Twitter, Inc. v. Barr, et al., Case No. 14-cv-4480                      1
     [PROPOSED] ORDER
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 1            The Court, having considered the Plaintiff’s Motion Challenging Defendants’
 2   Designations, the Defendants’ opposition thereto, and any reply submitted in support thereof,
 3   hereby ORDERS that the Plaintiff’s Motion is DENIED.
 4
 5            IT IS SO ORDERED, this _________ day of _____________, 2019.
 6
 7
 8
              Dated: ____________________                 _______________________________________
 9                                                        HON. YVONNE GONZALEZ ROGERS
                                                          UNITED STATES DISTRICT JUDGE
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     Twitter, Inc. v. Barr, et al., Case No. 14-cv-4480                                      2
     [PROPOSED] ORDER
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